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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

                                                  )
 UNITED STATES OF AMERICA,                        )   Civil Action No. 2:24-cv-02029-TLP-tmp
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )
                                                  )
 PATRIOT BANK,                                    )
                                                  )
                Defendant.                        )
                                                  )

    UNOPPOSED MOTION AND MEMORANDUM IN SUPPORT TO TERMINATE
            CONSENT ORDER AND DISMISS WITH PREJUDICE

       Plaintiff United States of America (“United States”), by and through undersigned

counsel, files this unopposed motion to provide the Court with a status update and to respectfully

request termination of the Consent Order and dismissal of this case with prejudice.

       The Court entered a Consent Order in this case on January 30, 2024 (Doc. 11). The

Consent Order states that its requirements will remain in effect for three years, or longer if

Patriot Bank opts to extend or it has not invested all money in the loan subsidy fund. (Id. ¶¶ 51 –

53). The Consent Order also states that other modifications may be made upon approval of the

Court, by motion by any Party, and that the Parties will work cooperatively to discuss and

attempt to agree to proposed modifications. (Id. ¶ 55).

       In support of this motion, the United States advises the Court that Patriot Bank has

demonstrated a commitment to remediation and has reached substantial compliance with the

monetary and injunctive terms of the Consent Order. Patriot has also committed to continuing its

disbursement of the loan subsidy fund (id. ¶ 23) and to provide the United States confirmation of

that disbursement upon completion.

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       The United States has conferred with Patriot Bank, which does not oppose this motion.

       WHEREFORE, for these reasons, Plaintiff United States respectfully requests that the

Court enter the attached Proposed Order terminating the Consent Order and dismissing this case

with prejudice.

       Respectfully submitted this 23rd day of May, 2025.

 JOSEPH C. MURPHY, JR.                             HARMEET K. DHILLON
 Acting United States Attorney                     Assistant Attorney General
 Western District of Tennessee                     Civil Rights Division

                                                   MICHAEL E. GATES
                                                   Deputy Assistant Attorney General
                                                   Civil Rights Division

                                                   CARRIE PAGNUCCO
                                                   Chief

                                                   TAMICA DANIEL
                                                   Deputy Chief

  /s/ Sarah Pazar Williams                           /s/ Jenna A. Raden
 SARAH PAZAR WILLIAMS (TN 031261)                  JENNA A. RADEN (DC Bar No. 1724701)
 Assistant United States Attorney                  Trial Attorney
 United States Attorney’s Office                   Housing & Civil Enforcement Section
 Western District of Tennessee                     Civil Rights Division
 167 North Main Street, Suite 800                  U.S. Department of Justice
 Memphis, TN 38103                                 150 M Street, NE
 Phone: (901) 544-4231                             Washington, DC 20530
 Fax: (901) 544-4230                               Phone: (202) 305-5452
 sarah.williams2@usdoj.gov                         Jenna.Raden@usdoj.gov

 Attorneys for the United States of America




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                                     Certificate of Counsel

       I hereby certify that the parties conferred regarding the contents of this motion on May

20, 2025 and May 23, 2025 and agreed as to the issues and relief requested by this motion.

                                                                 /s/ Jenna A. Raden
                                                              Jenna A. Raden
                                                              Counsel for United States


                                     Certificate of Service

       I hereby certify that on May 23, 2025, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filings to all counsel

of record.

                                                                /s/ Jenna A. Raden
                                                              Jenna A. Raden
                                                              Counsel for United States




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